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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION
WILLIE B. SMITH III,                   )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )      No. 2:21-cv-00099-RAH
                                       )
JEFFERSON S. DUNN,                     )
Commissioner, Alabama                  )
Department of Corrections,             )
                                       )
and                                    )
                                       )
TERRY RAYBON, Warden,                  )
Holman Correctional Facility           )
                                       )
      Defendants.                      )
                   MOTION FOR CONFIDENTIALITY ORDER
                    AND FOR LEAVE TO FILE UNDER SEAL

      Defendants Jefferson S. Dunn, Commissioner of the Alabama Department of

Corrections, and Terry Raybon, Warden of Holman Correctional Facility,

respectfully move this Court for the entry of a permanent Confidentiality Order with

respect to confidential documents and information that may be at issue in this

litigation. In support of this Motion, Defendants state as follows:

      1.     The instant case is a lawsuit filed pursuant to 42 U.S.C. § 1983 in which

the Plaintiff asserts claims concerning the ADOC’s execution protocol and the

physical layout of the execution chamber.



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      2.     Defendants maintain that the ADOC has a vital and compelling interest

in protecting the confidentiality of its execution protocol and all other aspects of the

manner of enforcing a death sentence in the State.

      3.     On February 3, 2021, the Court indicated during the telephonic

conference with the parties that Defendants should submit copies of the execution

protocol and the execution chamber schematic in their February 5 filing. These

documents are currently before the Court in Smith v. Dunn, 2:20-01026, where they

are under a confidentiality order. Likewise, the documents are before the Court in

Burton v. Dunn, 2:19-cv-00242, again under a confidentiality order.

      4.     In light of Defendants’ confidentiality concerns, Defendants request

that this Court enter a confidentiality order like those previously entered (e.g., ECF

No. 22 in Smith v. Dunn, 2:20-01026) that will govern how these documents can and

cannot be used and disclosed.

      5.     On February 5, the undersigned asked Spencer Hahn, counsel for the

Plaintiff, by e-mail if he had any objection to the entry of a confidentiality order like

those in the aforementioned cases. He indicated that he has no objection.

      6.     Should the Court grant the motion for a confidentiality order,

Defendants would then respectfully move the Court for leave to file their response

to the Plaintiff’s complaint under seal.




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      For these reasons, Defendants request that this Court enter a confidentiality

order in this matter and grant Defendants leave to file their response to Plaintiff’s

complaint under seal, and further request that any filings so sealed remain under seal

until further order of the Court.


      Respectfully submitted on February 5, 2021.

                                       STEVE MARSHALL
                                       ATTORNEY GENERAL OF ALABAMA
                                       BY—

                                       /s/ Lauren A. Simpson
                                       Lauren A. Simpson
                                       Alabama Assistant Attorney General
                                       Counsel for Defendants




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                        CERTIFICATE OF SERVICE

      I certify that on February 5, 2021, I served a copy of the foregoing upon

counsel for the Plaintiff by filing the same via the Court’s CM/ECF system, which

shall cause the same to be electronically transmitted to: Spencer J. Hahn and John

Anthony Palombi.


                                     Respectfully submitted,

                                     Steve Marshall
                                     Alabama Attorney General

                                     /s/ Lauren A. Simpson
                                     Lauren A. Simpson
                                     Alabama Assistant Attorney General
                                     Counsel for Defendants


OF COUNSEL:

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